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Adam Treister, individually, and Tree Star Inc.,
an Oregon Corporation

                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 MEDFORD DIVISION

MARIO ROEDERER, individually, and on               )   CASE NO.: 1:13-cv-01021-CL
behalf of FLOWJO, LLC, an Oregon Limited           )
Liability Company                                  )
                                                   )
              Plaintiffs,                          )   ANSWER TO FIRST AMENDED
       v.                                          )   COMPLAINT AND
                                                   )   COUNTERCLAIMS
ADAM TREISTER, individually, and TREE              )
STAR, INC., an Oregon corporation,                 )
                                                   )   JURY DEMAND
              Defendants.                          )
                                                   )
                                                   )
ADAM TREISTER, individually, and TREE              )
STAR, INC., an Oregon corporation,                 )
                                                   )
              Counter-claimants.                   )
       v.                                          )
                                                   )
                                                   )
MARIO ROEDERER, individually.                      )
                                                   )
              Counter-defendant.                   )
                                                   )
                                                   )




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       Defendants and Counter-claimants Tree Star, Inc. (“Tree Star”)and Adam Treister

(“Treister”), individually as a Defendant and on behalf of FlowJo, LLC as a counter-claimant

(collectively, “Defendants and Counter-claimants”), by and through their attorneys, hereby

jointly answer the First Amended Complaint (“FAC”)of Plaintiff and Counter-defendant Mario

Roederer (“Roederer”)as follows:

                               Parties, Jurisdiction and Venue
    1. Admit.

    2. Admit.

    3. Admit.

    4. Defendants and Counter-claimants admit that Tree Star is a citizen of Oregon, but deny

that Tree Star is currently the manger of FlowJo, LLC. Roederer is currently the manager of

FlowJo, LLC and will continue to serve in that capacity until February 7, 2014, at which time

FlowJo, LLC Roederer’s term as manager will end.

    5. Admit.

    6. Admit.

                             Allegations Common to All Counts

                                      The 1997 Agreement
    7. Admit.

   8. Admit that under the 1997Agreement, gross revenue earned from FlowJo licensing was

paid directly to Tree Star. Defendants and Counter-claimants deny the remaining allegations as

set forth in paragraph 8of the FAC.

    9. Admit

    10. Deny.

                               FlowJo, LLC Operating Agreement



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   11. Admit that Exhibit A purports to be a true and correct copy of the FlowJo, LLC

Operating Agreement. Defendants and Counter-claimants deny the remaining allegations as set

forth in paragraph 11of the FAC.

    12. Admit.

    13. Admit that Treister executed the FlowJo Operating Agreement in his personal capacity

and separately executed the Operating Agreement on behalf of Tree Star in the capacity he then

held (but no longer holds)as President of Tree Star. Deny that Treister executing the Operating

Agreement in his personal capacity bound Tree Star in any way or created any contractual

obligations for Tree Star. Deny that Treister executing the Operating Agreement in his then

capacity as President of Tree Star created any contractual obligations for Tree Star other than

those specifically enumerated in the Operating Agreement.

   14. Admit.

   15. Admit that the following text appears at section 4.6.1of the Operating Agreement: “The

Manager shall not have the authority to, and covenants and agrees that the Manager shall not, do

any of the following acts without the unanimous consent of the members: (a)Knowingly do any

act in contravention of this Agreement or without the consent of the members as requires by this

Agreement;(b)Knowingly do any act which would make it impossible to carry on the ordinary

business of the Company, except as otherwise provided in this Agreement . . .”Defendants and

Counter-claimants deny the remaining allegations as set forth in paragraph 15of the FAC.

   16. Paragraph 16 calls for a legal conclusion that does not require a response. To the extent

the paragraph contains allegations requiring a response, Defendants and Counter-claimants deny

the allegations.




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   17. Admit that the following text appears at section 4.10 of the Operating Agreement: “The

Manager shall be entitled to reasonable compensation for its services, as may be determined

from time to time by the members.” Defendants and Counter-claimants deny the remaining

allegations as set forth in paragraph 17of the FAC.

   18. Admit that the following text appears at Article 6 of the Operating Agreement: “All items

of income, gain, loss, deduction, and credit shall be allocated among all members in proportion

to each member’s respective ownership interests. Annual, monthly, or other interim distributions

shall be payable to the members according to the members’respective ownership interest, as

determined in the sole discretion of the Manager;provided, however, that no distribution shall

render the LLC insolvent or otherwise unable to satisfy debts as they may come due.”

Defendants and Counter-claimants deny the remaining allegations as set forth in paragraph 18of

the FAC.

   19. Deny.

      Treister’s and Tree Star’s [Allegedly]Unilateral and [Allegedly]Unauthorized
                                 Distributions to Tree Star
   20. Deny.

   21. Deny.

   22. The allegation in this paragraph is not specific as to time period and, on that basis, is

denied.

   23. Deny.

   24. Deny.

   25. Deny.

   26. Deny.

   27. Deny.



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   28. Deny.

   29. Deny.

   30. Deny.

   31. Deny.

   32. Deny.

   33. Deny.

   34. Deny.

   35. Deny.

   36. Deny.

   37. Deny.

   38. Deny.

   39. Deny.

   40. Deny.

   41. Deny.

   42. Deny.

   43. Deny.

   44. Deny.

        Tree Star’s [Alleged]Conversion of FlowJo’s [Alleged]Intellectual Property
   45. Deny.

   46. Deny.

   47. Admit that the following text appears in section 1.6 of the Operating Agreement: “The

Company is being formed for the purpose of the development, ownership, marketing, and

distribution of flow cytometry software. In addition, the Company shall have the authority to do




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all things necessary or convenient to accomplish its purpose.”Defendants and Counter-claimants

deny the remaining allegations as set forth in paragraph 47of the FAC.

   48. Admit that Tree Star filed federal trademark application serial no. 85538359for the

FLOW JO trademark, covering the following goods and services: “Computer software platforms

for the analysis of Flow Cytometry Data.” Defendants and Counter-claimants deny the

remaining allegations as set forth in paragraph 48of the FAC.

   49. Deny. In application serial no. 85538359, Tree Star claimed a first use date of July 1,

1994and a first use in commerce date of June 1, 1995.

   50. Admit.

   51. Deny.

   52. Admit.

   53. Deny.

   54. Deny.

   55. Deny.

   56. Deny.

   57. Deny.

                                           Count I
                                     (Breach of Contract)
   58. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 57above, inclusive, as through fully set forth herein.

   59. Paragraph 59calls for a legal conclusion that does not require a response. To the extent

the paragraph contains allegations requiring a response, Defendants and Counter-claimants deny

the allegations.

   60. Deny.



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   61. Deny.

   62. Deny.

   63. Deny.

   64. Deny.

   65. Deny.

   66. Deny.

   67. Deny.

   68. Deny.

                                           Count II
                                         (Accounting)
   69. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 68above, inclusive, as through fully set forth herein.

   70. Deny.

   71. Deny.

   72. Deny.

   73. Deny.

   74. Defendants and Counter-claimants lack sufficient knowledge to admit or deny the

allegations as set forth in paragraph74of the FAC and on that basis deny them.

   75. Defendants and Counter-claimants lack sufficient knowledge to admit or deny the

allegations as set forth in paragraph75of the FAC and on that basis deny them.

                                          Count III
                                  (Breach of Fiduciary Duty)
   76. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 75above, inclusive, as through fully set forth herein.




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   77. Paragraph 77calls for a legal conclusion that does not require a response. To the extent

the paragraph contains allegations requiring a response, Defendants and Counter-claimants deny

the allegations.

   78. Deny.

   79. Deny.

   80. Deny.

   81. Deny.

   82. Deny.

                                       Count IV
                           (Common Law Oppression by Tree Star)
   83. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 82 above, inclusive, as through fully set forth herein.

   84. Deny.

   85. Deny.

   86. Deny.

   87. Deny.

   88. Deny.

                                           Count V
                                      (Unjust Enrichment)
   89. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 88above, inclusive, as through fully set forth herein.

   90. Deny.

   91. Deny.

   92. Deny.

   93. Deny.


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   94. Deny.

   95. Deny.

   96. Deny.

   97. Deny.

   98. Deny.

                                          Count VI
                                     (Constructive Trust)
   99. Defendants and Counter-claimants incorporate by reference their responses to paragraphs

1through 98above, inclusive, as through fully set forth herein.

   100. Deny.

   101. Deny.

   102. Deny.

   103. Deny.

   104. Deny.

   105. Deny.

   106. Deny.

   107. Deny.

   108. Deny.

   109. Deny.

                                          Count VII
                                         (Conversion)
   110. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 109above, inclusive, as through fully set forth herein.

   111. Deny.

   112. Deny.


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   113. Deny.

   114. Deny.

   115. Deny.

   116. Deny.

                                    Count VIII
   (Declaratory Judgment Regarding Ownership of Intellectual Property [allegedly]by
                                   FlowJo, LLC)
   117. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 116 above, inclusive, as through fully set forth herein.

   118. Admit that a dispute has arisen regarding the ownership of certain intellectual property.

Deny that there is any merit to Roederer’s claims.

   119. Deny.

   120. This allegation is ambiguous and unclear because it is not possible to discern what is

meant by “FlowJo’s products and intellectual property.” Accordingly, Defendants and Counter-

claimants lack sufficient knowledge to admit or deny the allegations as set forth in paragraph 120

of the FAC and on that basis deny them.

   121. Deny.

   122. Deny.

                                         Count IX
 (Cancellation of Tree Star’s Federal TrademarkRegistration Based on [Alleged]Mistake
                                      of Ownership)
   123. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 122 above, inclusive, as through fully set forth herein.

   124. Admit that plaintiffs correctly quote an excerpt of 15U.S.C. §1119.

   125. Deny.

   126. Deny.


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   127. Deny.

                                          Count X
                           (Copyright Infringement by Tree Star)
   128. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 127above, inclusive, as through fully set forth herein.

   129. Deny.

   130. Deny.

   131. Deny.

   132. Deny.

   133. Deny.

   134. Deny.

                                        Count XI
  (False Designation of Origin and Unfair Competition under 15 U.S.C. §1125(a) by Tree
                                          Star)
   135. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 134above, inclusive, as through fully set forth herein.

   136. This paragraph is not a complete sentence and is therefore ambiguous and unclear.

Accordingly, Defendants and Counter-claimants lack sufficient knowledge to admit or deny the

allegations as set forth in paragraph 136 of the FAC and on that basis deny them.

   137. Deny.

   138. Deny.

   139. Deny.

                                          Count XII
                                   (Preliminary Injunction)
   140. Defendants and Counter-claimants incorporate by reference their responses to

paragraphs 1through 139above, inclusive, as through fully set forth herein.



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   141. Deny.

   142. Deny.

   143. Deny.

   144. Deny.

   145. Deny.

   146. Deny.

                               ANSWER TO PRAYER FOR RELIEF

   147. Defendants and Counter-claimants deny that Roederer is entitled to any of the relief

that he seeks in his prayer for relief or otherwise.

                                         GENERAL DENIAL

   148. Defendants and Counter-claimants further deny any of the allegations in the FAC

which are not specifically admitted in the responses set forth above.


                                   AFFIRMATIVE DEFENSES
   149. Defendants and Counter-claimants allege the following affirmative and other defenses,

reserving the right to modify, amend, and/or expand upon these defenses as discovery proceeds.

Defendants and Counter-claimants do not hereby assume the burden of proof with respect to

those matters as to which, pursuant to law, Roederer bears the burden.

                               FIRST AFFIRMATIVE DEFENSE

   150. Roederer’s claims are barred, in whole, or in part, because they fail to state a claim

upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

   151. Roederer’s claims are barred, in whole, or in part, by the equitable doctrines of waiver,

acquiescence, estoppel, and laches. Roederer concedes that he waited over five and a half years



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before filing suit to contest what he claims were unlawful modifications to the payments he

received from FlowJo, LLC and Tree Star. Having slept on his purported rights, Roederer is

barred from pursuing the claims asserted in the FAC.

                             THIRD AFFIRMATIVE DEFENSE

   152. Roederer’s claims are barred, in whole, or in part, by the doctrine of unclean hands. As

described in Defendants and Counter-claimants’counter-claims, Roederer, inter alia, acted to

divert customers from Tree Star and cause customers to breach their contracts with Tree Star

and, despite his actual and constructive knowledge of Tree Star’s superior trademark rights,

unlawfully distributed software under the FLOW JO trademark. Moreover, Roederer has

disregarded his fiduciary duty as manager of FlowJo, LLC. Having committed these unlawful

acts, Roederer is barred from pursuing the claims asserted in the FAC.

                                     COUNTERCLAIMS

       Defendants and Counter-claimants assert the following counterclaims against Plaintiff

and Counter-defendant Roederer. Each of the counterclaims is brought on behalf of one

defendant individually, not both collectively. Defendants and Counter-claimants allege as

follows on personal knowledge as to their own actions and on information and belief as to the

actions of others:

                                           PARTIES
    1. Mario Roederer (“Roederer”)is an individual and citizen of W ashington D.C.

    2. FlowJo, LLC is a limited liability company organized under the laws of Oregon.

    3. Adam Treister (“Treister”)is an individual and citizen of Ashland, Oregon.

    4. Tree Star, Inc. (“Tree Star”)is a corporation organized under the laws of Oregon with its

principal place of business in Ashland, Oregon.




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                                 JURISDICTION AND VENUE

    5. This Court has original jurisdiction under 28U.S.C. §§1331, 1332, and 1338. This

Court also has original jurisdiction under 28U.S.C. §1332(a)(1)because (i)there is complete

diversity of citizenship and (ii)the amount in controversy, exclusive of interest and costs,

exceeds $75,000.00 as against each Counter-defendant. This Court has supplemental jurisdiction

under 28U.S.C. §1367for related state law claims as well as jurisdiction under 28U.S.C. §

1338(b)because the state law claims are joined to a substantial and related trademark claim.

    6. Venue is proper in this District pursuant to 28U.S.C. §§1391(b)(1)because a substantial
portion of the events giving rise to these counterclaims occurred within this District, because

Treister and Tree Star are citizens of this District and are therefore subject to personal

jurisdiction therein, and because Roederer has filed suit against Treister and Tree Star in this

District and thereby submitted to the personal jurisdiction therein.

                                    STATEMENT OF FACTS
    7. Beginning at least as early as June 1, 1995, Tree Star marketed flow cytometry software

and related services under the FLOW JO trademark. Since that date, Tree Star has continuously

used the FLOW JO mark in connection with its business in licensing flow cytometry software.

    8. On, or about, June 1, 1995until January 2, 2014, no other individual or entity, including

Roederer and FlowJo, LLC, has used the FLOW JO trademark in commerce in connection with

flow cytometry software and/or related services.

    9. Indeed, from June 1, 1995until January 2014, neither Roederer nor FlowJo, LLC ever

used the FLOW JO mark in commerce in connection with any goods or services.

    10. On or about January 2, 2014, Roederer surreptitiously modified a file referenced by Tree

Star’s FLOW JO flow cytometry software in order to redirect users of that software who were

looking for updates for that software to www.flowscape.org/FlowJo/Download_FlowJo.html (the

“Flowscape page”), a webpage owned and operated by Roederer.


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    11. On the Flowscape page, Roederer offers a link to download software that he describes as

the “latest version of FlowJo.” That software is also flow cytometry software.

    12. Roederer marketed software on the Flowscape page using the FLOW JO mark despite his

actual and constructive knowledge of Tree Star’s long-standing trademark rights and Tree Star’s

federal trademark registration for the FLOW JO mark. Notwithstanding Tree Star’s demand that

Roederer remove this infringing material, Roederer continues to use the Flowscape page to offer

software under the FLOW JO mark.

    13. After consumers expressed confusion about the source of the software offered by

Roederer on the Flowscape page under the FLOW JO mark, Roederer contacted thousands of

consumers, including many of Tree Star’s customers, and falsely claimed that he had the right to

offer software under the FLOW JO mark and that the software he is offering on the Flowscape

page is legitimate FLOW JO software.

    14. All existing users of Tree Star’s FLOW JO software have entered into an End User

License Agreement (“EULA”)with Tree Star wherein those users pay Tree Star for the right to

use the FLOW JO software subject to certain terms and conditions.

    15. The software offered by Roederer via the Flowscape page contains a modified EULA

listing FlowJo, LLC as the licensor. Accordingly, users that downloaded and installed the

software offered by Roederer via the Flowscape page entered into a EULA with Roederer that

purports to allow those users to utilize software marketed under Tree Star’s FLOW JO mark.

Roederer’s modified EULA thereby disrupts Tree Star’s existing contractual relationship with

users of Tree Star’s FLOW JO software.

    16. Since assuming the position of manager of FlowJo, LLC, in derogation of his fiduciary

duty in that role, Roederer has taken no actions to further FlowJo, LLC’s corporate purpose or to



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otherwise benefit, aid, or assist FlowJo, LLC. Despite repeated requests from FlowJo, LLC

member Treister, Roederer has not developed any business plans for FlowJo, LLC. Indeed, since

assuming the position of manager, Roederer has not taken any action to operate any business

within FlowJo, LLC’s corporate structure, has not hired any employees to run any business, and

has not called a single meeting to discuss, plan, or conduct FlowJo, LLC’s business operations.


                                       COUNT I
     (Infringement of Registered Trademarks, 15 U.S.C. §1114 on behalf of Tree Star)
    17. Tree Star realleges and incorporates by reference paragraphs 1through 16 above,

inclusive, as through fully set forth herein.

    18. Tree Star is the owner of federal trademark registration number 4,205,910 for the mark

FLOW JO covering “Computer software platforms for the analysis of Flow Cytometry Data.”

    19. Roederer has used in commerce, without Tree Star’s consent, a mark that is identical to

Tree Star’s FLOW JO mark and that, taking into account the extremely similar commercial

activities of the parties and other factors, are likely to cause confusion, deception, or mistake

among consumers.

    20. Roederer’s unauthorized use of the FLOW JO mark has damaged Tree Star and the

business and goodwill symbolized by Tree Star’s FLOW JO mark.

    21. As a consequence of Roederer’s infringement of Tree Star’s FLOW JO mark, Tree Star

is entitled to an injunction as set forth below, an order of destruction of all of Roederer’s

infringing materials, Roederer’s profits, Tree Star’s damages, and Tree Star’s costs of actions.

    22. Because this is an exceptional case, involving calculated and willful misconduct by

Roederer, Tree Star is entitled to recover treble damages, treble profits, and attorneys’fees.




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                                        COUNT II
 (False Designation of Origin and False Advertising, 15 U.S.C. §1125(a) on behalf of Tree
                                          Star)
    23. Tree Star realleges and incorporates by reference paragraphs 1through 22 above,

inclusive, as through fully set forth herein.

    24. Roederer’s acts described above, including its use in commerce of marks that are

identical to Tree Star’s FLOW JO mark are likely to cause confusion, mistake, or deception as to

the source, sponsorship, affiliation, or approval of Roederer’s goods and services. Further,

Roederer’s acts described above constitute false representations of fact that are also likely to

cause confusion, mistake, or deception as to the source, sponsorship, affiliation, or approval of

Roederer’s goods and services.

    25. Roederer’s unauthorized use of the “FlowJo”name as a trademark has damaged Tree

Star and the business and goodwill symbolized by Tree Star’s FLOW JO mark.

    26. As a consequence of Roederer’s violation of Tree Star’s rights, Tree Star is entitled to an

injunction as set forth below, an order of destruction of all of Roederer’s infringing materials,

Roederer’s profits, Tree Star’s damages, and Tree Star’s costs of actions.

    27. Because this is an exceptional case, involving calculated and willful misconduct by

Roederer, Tree Star is entitled to recover treble damages, treble profits, and attorneys’fees.


                                   COUNT III
               (Common Law TrademarkInfringement on behalf of Tree Star)
    28. Tree Star realleges and incorporates by reference paragraphs 1through 27above,

inclusive, as through fully set forth herein.

    29. Roederer’s acts as described above, including its use in commerce of a mark that is

identical to Tree Star’s FLOW JO mark are likely to cause confusion, mistake, or deception as to

the source sponsorship, affiliation, or approval of Roederer’s goods and services. Further,


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Roederer’s acts described above constitute false representations of fact that are also likely to

cause confusion, mistake, or deception as to the source, sponsorship, affiliation, or approval of

Roederer’s goods and services.

    30. Roederer’s acts as described above, including but not limited to its continued use of the

FLOW JO mark, constitute trademark infringement under Oregon common law.

    31. As a consequence of Roederer’s violations of Tree Star’s rights, Tree Star is entitled to

an injunction as set forth below, an order of destruction of all of Roederer’s infringing materials,

Roederer’s profits, Tree Star’s damages, and Tree Star’s costs of action.


                                         COUNT IV
                 (Tortious Interference with Contract on behalf of Tree Star)
    32. Tree Star realleges and incorporates by reference paragraphs 1through 31above,

inclusive, as through fully set forth herein.

    33. Prior to January 2, 2014, Tree Star had an existing contractual relationship with users of

its FLOW JO software. That contractual relationship was embodied by the EULA between Tree

Star and users of its FLOW JO software.

    34. Roederer is (and was)fully aware of this existing contractual relationship between Tree

Star and users of Tree Star’s FLOW JO software.

    35. By unlawfully offering software on the Flowscape page using Tree Star’s FLOW JO

mark, Roederer caused Tree Star’s users to enter into a contract with Roederer that purports to

abrogate the pre-existing contract between Tree Star and its users.

    36. Roederer intentionally utilized an infringing trademark identical to Tree Star’s FLOW JO

mark in order to confuse consumers into entering into a contract with Roederer that disrupts the

existing contractual relationship between those users and Tree Star.




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    37. Roederer intentionally sought to disrupt the existing contractual relationship between

Tree Star and its users in order to damage Tree Star’s business and establish an independent

business relationship with Tree Star’s users.

    38. Tree Star has suffered substantial harm as a result of Roederer’s tortious interference

with Tree Star’s existing contractual relationship with its users, including reputational harm, lost

current revenues, and lost future revenues.

    39. As a result of Roederer’s tortuous interference, Tree Star is entitled to recover actual

damages, profits, and attorneys’fees.


                                          COUNT V
                        (Breach of Fiduciary Duty on behalf of Treister)
    40. Treister realleges and incorporates by reference paragraphs 1through 16 above,

inclusive, as through fully set forth herein.

    41. As manager of FlowJo, LLC, Roederer owes a fiduciary duty to FlowJo, LLC member

Treister to responsibly manage FlowJo, LLC and operate a business to further the corporate

purpose of FlowJo, LLC and benefit the members of FlowJo, LLC.

    42. Since assuming the position of manager of FlowJo, LLC, in derogation of that fiduciary

duty in that role, Roederer has taken no actions to further FlowJo, LLC’s corporate purpose or to

otherwise benefit, aid, or assist FlowJo, LLC or its members.

    43. Despite repeated requests from FlowJo, LLC member Treister, Roederer has not

developed any business plans for FlowJo, LLC. Moreover, Roederer has not taken any action to

operate any business within FlowJo, LLC’s corporate structure, has not hired any employees, and

has not called a single meeting to discuss, plan, or conduct FlowJo, LLC’s business operations.

    44. As a consequence of Roederer’s breach of fiduciary duty Treister is entitled to damages

and equitable relief in an amount to be decided at trial.


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                                   PRAYER FOR RELIEF

W HEREFORE, Tree Star respectfully requests this Court:

    A. Preliminarily and permanently enjoin Roederer and all others in active concert or

participation with him from:

           a. using directly or indirectly, in connection with any goods, services, or commercial

              activities, the FLOW JO mark, or any other trademark, service mark, or trade

              name that imitates or simulates, or is otherwise confusingly similar to, Tree Star’s

              FLOW JO mark;
           b. using any other false designations of origin or false description or representation

              or doing any other acts or things calculated or likely to cause confusion or mistake

              in the mind of the trade or the public, or to deceive the trade or the public into

              believing that Roederer’s activities are in any way sponsored, licensed, authorized

              by, or affiliated or connected with Tree Star;and

           c. engaging directly or indirectly in any practices, including those complained of

              herein, that tend to compete unfairly with, or injure, Tree Star, its business, or the

              goodwill related to Tree Star’s business or Tree Star’s FLOW JO mark;

    B. Order Roederer to deliver for destruction all media, signs, prints, advertising, packaging,

products, labels, wrappers, receptacles, boxes, cartons, forms, tags, patches, printed materials,

and promotional materials in his possession or control that bear the FLOW JO mark;

    C. Order Roederer to discontinue the use of the FLOW JO mark on websites, social media

accounts, electronic mail addresses, and other electronic media;

    D. Order Roederer to engage in corrective advertising at his own expense to the extent

necessary to correct any misperceptions resulting from its unlawful acts complained of above;

    E. Order Roederer to account to Tree Star for its profits derived from the use of the

FLOW JO mark and order that Tree Star recover its damages arising out of the aforesaid acts of

infringement in a sum equal to three times such profits or damages (whichever is greater),

pursuant to 15U.S.C. §1117(b);

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    F. Order Roederer to pay damages to Tree Star for the revenue Tree Star has lost as a result

of the aforesaid acts of tortious interference with contact;

    G. Order Roederer to file with the Court and to serve on counsel for Tree Star within 30

days of the entry of any injunction issued by the Court in this action, a sworn written statement

pursuant to 15 U.S.C. § 1116(a)setting forth in detail the manner and form in which it has

complied with any injunction which the Court may enter in this action;

    H. Order the USPTO to cancel and invalidate any trademark registration issued to Roederer

covering Roederer’s use of the FLOW JO mark, or any other mark that that imitates or
simulates, or is otherwise confusingly similar to Tree Star’s FLOW JO trademark.

    I. Award Tree Star reasonable attorneys’fees and costs and disbursements incurred by Tree

Star as a result of Roederer’s intentional infringement, pursuant to 15U.S.C. §1117(a);

    J. Order that Roederer take nothing from its FAC;

    K. Award such other and further relief to Tree Star as the Court may deem just and proper.

                                REQUEST FOR JURY TRIAL

       Tree Star demands a jury trial on all claims and issues so triable.

                                    PRAYER FOR RELIEF

W HEREFORE, Treister respectfully requests this Court:

   A. Award damages and equitable relief in an amount to be proven at trial.

   B. Order that Roederer take nothing from its FAC;

   C. Award such other and further relief to Tree Star as the Court may deem just and proper.

                                REQUEST FOR JURY TRIAL

       Treister demands a jury trial on all claims and issues so triable.



                                                   Respectfully submitted,

Dated: January 23, 2014                            W ILSON SONSINI GOODRICH & ROSATI
                                                   Professional Corporation




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                                                  By: /s/ Dylan J. Liddiard
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                                                         dliddiard@ wsgr.com

                                                  Attorneys for Defendants and Counter-
                                                  claimants
                                                  Adam Treister, individually;and Tree Star,
                                                  Inc., an Oregon Corporation



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 23, 2014, the foregoing document was

electronically filed with the Court and served on the following counsel of record by using the

CM/ECF:

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                                       By: /s/ Dylan J. Liddiard
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